      Case 7:17-cv-09424-CS Document 118 Filed 04/29/22 Page 1 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
ex   rel.  INTEGRA  MED
ANALYTICS LLC,

                Plaintiff,

          v.

ISAAC LAUFER, MONTCLAIR CARE
CENTER,   INC.,    EAST   ROCKAWAY
CENTER LLC, EXCEL AT WOODBURY
FOR REHABILITATION AND NURSING,
LLC, LONG ISLAND CARE CENTER INC.,     17 Civ. 9424 (CS)
TREETOPS REHABILITATION & CARE,
SUTTON PARK CENTER FOR NURSING &
REHABILITATION,      LLC,   SUFFOLK
RESTORATIVE THERAPY & NURSING,         NOTICE OF MOTION FOR
LLC, OASIS REHABILITATION AND          WITHDRAWAL OF APPEARANCE
NURSING, LLC, and FOREST MANOR         OF COUNSEL FOR LONG ISLAND
CARE CENTER, INC.,                     CARE CENTER, INC. AND
                                       FOREST MANOR CARE CENTER,
               Defendants.             INC.

UNITED STATES OF AMERICA,

                Plaintiff,

          v.

ISSAC   LAUFER,     TAMI  WHITNEY,
PARAGON MANAGEMENT SNF LLC,
MONTCLAIR CARE CENTER, INC., EAST
ROCKAWAY CENTER LLC, EXCEL AT
WOODBURY FOR REHABILITATION AND
NURSING, LLC, LONG ISLAND CARE
CENTER         INC.,      TREETOPS
REHABILITATION & CARE CENTER LLC,
SUTTON PARK CENTER FOR NURSING &
REHABILITATION,      LLC,  SUFFOLK
RESTORATIVE THERAPY & NURSING,
LLC, OASIS REHABILITATION AND
NURSING, LLC, FOREST MANOR CARE
CENTER, INC., SURGE REHABILITATION
& NURSING LLC, and QUANTUM
         Case 7:17-cv-09424-CS Document 118 Filed 04/29/22 Page 2 of 4




REHABILITATION & NURSING LLC,

                   Defendants.



TO THE COURT AND ALL PARTIES OF RECORD:

               PLEASE TAKE NOTICE that upon the attached Declaration of Karli E. Cozen,

Defendants Long Island Care Center, Inc. (“LICC”) and Forest Manor Care Center, Inc. d/b/a

Glen Cove Center for Nursing and Rehabilitation (“Glen Cove”) move this Court, pursuant to

Rule 1.4 of the Local Rules of the United States District Courts for the Southern and Eastern

Districts of New York, for an Order allowing her withdrawal as counsel for LICC and Glen Cove

in the above-captioned case.

               Attorney Cozen will be leaving Troutman Pepper Hamilton Sanders LLP as of

May 5, 2022. Attorney Miranda Hooker will continue to represent the Defendants LICC and

Glen Cove in this matter.

               PLEASE TAKE FURTHER NOTICE that, given the nature of this motion,

Defendants LICC and Glen Cove request that this Court determine this matter on submission and

without the need for additional briefing or oral argument as permitted by Rule 78 of the Federal

Rules of Civil Procedure.




Dated: April 29, 2022                               Respectfully submitted,




                                                    /s/ Karli E. Cozen
                                                    Miranda Hooker, Esquire (MA BBO #661569)
                                                    TROUTMAN PEPPER HAMILTON SANDERS LLP
                                                    19th Floor, High Street Tower
         Case 7:17-cv-09424-CS Document 118 Filed 04/29/22 Page 3 of 4




                                                    125 High Street
                                                    Boston, MA 02110-2736
                                                    (617) 204-5160
                                                    Miranda.Hooker@Troutman.com

                                                    Karli E. Cozen, Esquire (PA. Bar No. 326204)
                                                    TROUTMAN PEPPER HAMILTON SANDERS LLP
                                                    3000 Two Logan Square
                                                    18th & Arch Streets
                                                    Philadelphia, PA 19103-2799
                                                    Karli.Cozen@Troutman.com
                                                    (215) 981-4000



                             PROPOSED ENDORSED ORDER

The Court finds that satisfactory reasons exist for allowing the withdrawal of Karli E. Cozen’s
appearance as counsel of record in this case. Accordingly, the foregoing motion is GRANTED
and Karli E. Cozen’s participation in this case is hereby terminated.

                                                           SO ORDERED:

                                                           ___________________________
                                                                   U.S.D.J.
         Case 7:17-cv-09424-CS Document 118 Filed 04/29/22 Page 4 of 4




                               CERTIFICATE OF SERVICE

             I hereby certify that on April 29, 2022, I caused the foregoing Notice of Motion to
Withdraw as Counsel to be served on all parties in this action via ECF.


                                                   /s/ Karli E. Cozen
                                                   Karli E. Cozen
